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 8
 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     ESTATE OF NORMA GUZMAN, by and)              Case No. CV15-7932 JAK (FFM)
12                                         )      Consolidated with CV16-03101 JAK (FFMx)
     through successor in interest, GLORIA )
13   GONZALEZ, individually                )      Hon Judge: John A. Kronstadt; Ctrm 10B
                                           )      Hon Magistrate Judge: Frederick F. Mumm
14                                         )
                       Plaintiffs,         )
15   vs.                                   )
                                           )      JOINT STATUS REPORT RE
16                                         )      SETTLEMENT
     CITY OF LOS ANGELES, DOE              )
                                           )
17   OFFICERS 1 through 5, and DOES 6      )
     through 10, INCLUSIVE, and DOES 1 )
18                                         )
     through 10,                           )
19                     Defendants.         )
     __________________________________ )
20                                         )
     AND CONSOLIDATED CASE.                )
21
22
     TO THE HONORABLE JOHN A. KRONSTADT, U.S. DISTRICT COURT
23
     JUDGE AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
24
           COMES NOW the Plaintiff ESTATE OF NORMA GUZMAN, by and through
25
     successor in interest GLORIA GUZMAN, and Plaintiff MARCOS CASTANEDA, and
26
     Defendants CITY OF LOS ANGELES, ANTONIO MCNEELY and SAMUEL
27
     BRIGGS, by and through their counsel of record, hereby stipulate and request that the
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 1 Court continue the pending Order to Show Cause re Dismissal, currently set for March
 2 26, 2018, for forty-five (45) days.
 3        As the Court knows, the parties have settled the lawsuit, subject to the approval by
 4 the Los Angeles City Council. The City Attorney’s office has had to provide additional
 5 information and revise their formal report to the City Council, and on that basis
 6 Defendants will need some additional time. The parties are requesting continuation of
 7 the scheduled hearing for 45 days to allow time for the City Council to review the
 8 settlement. Defendants anticipate the proposed settlement will be before the City Claims
 9 Board on approximately April 2, 2018. The Defendants further anticipate that the
10 proposed settlement would then be heard before the City Council within approximately
11 two (2) weeks thereafter. The parties request 45 days in an abundance of caution.
12
     Dated: March 20, 2018          CASILLAS & ASSOCIATES
13
14                                  By:   /S/ Arnoldo Casillas
                                          Arnoldo Casillas, Esq.
15
                                    Attorneys for Plaintiffs ESTATE OF NORMA
16                                  GUZMAN, et al.
17
     Dated: March 20, 2018          MICHAEL N. FEUER, City Attorney
18
19                                  By:     /s/ Christian R. Bojorquez
                                          Christian R. Bojorquez, Deputy City Attorney
20
                                    Attorneys for Defendants CITY OF LOS ANGELES
21
     Dated: March 20, 2018          BERNARD & BERNARD
22
23                                  By:     /S/ Stephen Bernard
                                          Stephen Bernard, Esq.
24
                                    Attorneys for Plaintiff MARCOS CASTANEDA, et al
25
     Dated: March 20, 2018          JONES & MAYER
26
27                                  By:    /S/ James R. Touchstone
                                          James Touchstone, Esq.
28
                                    Attorney for Defendant SAMUEL BRIGGS
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